                Case 17-51105-KG   Doc 12-1   Filed 01/19/18   Page 1 of 17




                                   EXHIBIT A




01:22750833.4
                      Case 17-51105-KG      Doc 12-1     Filed 01/19/18   Page 2 of 17




         Defendant                                                    Adversary   Status
                                                                      Case No.
         AAA Flag & Banner Mfg. Co., Inc.                             17-51044    Open
         A. M. Wighton and Sons                                       17-51045    Open
         Brewer Consulting, Inc.                                      17-51046    Open
         Bon Suisse, Inc.                                             17-51050    Open
         Accutherm Refrigeration, Inc.                                17-51054    Open
         Alpenrose Dairy, Inc.                                        17-51056    Open
         Anderson Dairy, Inc.                                         17-51057    Open
         Arctic Glacier U.S.A., Inc.                                  17-51058    Open
         Haralambos Beverage Co.                                      17-51059    Open
         CentryLink, Inc.                                             17-51060    Open
         Frozen Gourmet, Inc.                                         17-51061    Settled, subject
                                                                                  to documentation
         JSI Store Fixtures Incorporated                              17-51063    Open
         Core-Mark International, Inc.                                17-51064    Settled, subject
                                                                                  to documentation
         Coyle Reproductions, Inc.                                    17-51065    Open
         Cyma Orchids Corporation                                     17-51067    Open
         Gourmet Merchants International, Inc.                        17-51075    Open
         Granite Telecommunications LLC                               17-51077    Open
         E. & J. Gallo Winery d/b/a Gallo Wine Conpany; Gallo Sales   17-51078    Open
         Company, Inc.
         Federal Health Sign Company, LLC                             17-51080    Open
         First Data Merchant Services, LLC                            17-51081    Open
         Hickman’s Egg Ranch, Inc.                                    17-51082    Open
         Gauge Consulting, Inc. d/b/a Pada Sushi                      17-51083    Open
         Julian Pie Company, LLC                                      17-51084    Open
         Pacific Beverage Co.                                         17-51089    Open
         Ivar’s Cabinent Shop, Inc. d/b/a Ivar’s Displays             17-51091    Open
         Solis Lighting and Electrical Services, Inc.                 17-51092    Open
         Kasco, LLC                                                   17-51093    Open
         Synchrogistics, LLC                                          17-51096    Open
         King Retail Solutions, Inc.                                  17-51097    Open
         Rief Enterprises, Inc.                                       17-51098    Open
         Laurel Graphics and Fabrication Company                      17-51102    Open
         Township Building Services, Inc.                             17-51105    Open
         Design Fabrications, Inc.                                    17-51107    Open
         Loomis Armored US, LLC                                       17-51109    Open
         Harbor Distributing Co.                                      17-51110    Open
         Market Refrigeration Specialists, Inc.                       17-51111    Open
         Mayflower Distributing Company, Inc.                         17-51112    Open
         Bargreen-Ellingson, Inc.                                     17-51117    Open
01:22761646.2
                      Case 17-51105-KG         Doc 12-1    Filed 01/19/18   Page 3 of 17



         Better Planet Distribution USA, LLC                          17-51118      Open
         Bunzl Distribution USA, LLC                                  17-51119      Open
         Crown Pacific Fine Foods, Inc.                               17-51120      Open
         Darigold, Inc.                                               17-51121      Open
         Dawn Food Products, Inc.                                     17-51122      Open
         Decopac, Inc.                                                17-51124      Open
         Quaker Sales & Distribution Inc.                             17-51125      Open
         Rose Gonzales & Plants, Inc.                                 17-51127      Open
         Reddy Ice Corporation                                        17-51128      Open
         Lwin Family Co., LLC                                         17-51129      Open
         Steve Julius Construction, Inc.                              17-51131      Open
         Panda Express, Inc.                                          17-51132      Open
         Palisades Mediagroup, Inc.                                   17-51133      Settled, subject
                                                                                    to documentation
         National Health Information                                  17-51134      Open
         Red Bull Distribution Company, Inc.                          17-51135      Open
         Red Bird Farms Distribution Company                          17-51136      Open
         Penske Logistics LLC                                         17-51137      Open
         S-L Distribution Company, LLC                                17-51138      Open
         ITW Food Equipment Group LLC                                 17-51139      Open
         Rebis, LLC                                                   17-51140      Open
         Nevada Beverage Co.                                          17-51146      Open
         Superior Electrical, Mechanical & Plumbing Inc.              17-51148      Open
         Tony’s Coffees & Teas, Inc.                                  17-51149      Open
         IControl Systems USA, LLC                                    17-51150      Open
         Inderbitzin Distributors, Inc.                               17-51151      Open
         Florists’ Transworld Delivery, Inc.                          17-51153      Open
         DPI Specialty Foods, Inc.                                    17-51154      Open
         National Food Corporation                                    17-51157      Open
         Mondelez Global LLC                                          17-51158      Open
         Medowsweet Farms, Inc.                                       17-51159      Open
         Key Mechanical Co. of Washington                             17-51161      Open
         Marketouch Media, Inc.                                       17-51162      Open
         PDX, Inc.                                                    17-51164      Open
         Real Soda In Real Bottles, Ltd.                              17-51165      Open
         RX.Com Consulting, Inc.                                      17-51166      Open
         Total Cleaning Solutions, Inc.                               17-51168      Open
         Ocean Beauty Seafoods LLC                                    17-51169      Open
         Pangea-CDS, Inc.                                             17-51170      Settled, subject
                                                                                    to documentation
         Papyrus-Recycled Greetings, Inc.                             17-51171      Open
         Peet’s Coffee & Tea, LLC                                     17-51172      Open
         Pro’s Choice Beauty Care, Inc.                               17-51173      Open
         Reser’s Fine Foods, Inc.                                     17-51174      Open
         Schwan’s Consumer Brands, Inc.                               17-51176      Open
01:22761646.2
                     Case 17-51105-KG      Doc 12-1    Filed 01/19/18   Page 4 of 17



         Select-A-Vision, Inc.                                      17-51177    Open
         Signature Graphics, Inc.                                   17-51178    Open
         The Peggs Company, Inc.                                    17-51179    Open
         YRC, Inc.                                                  17-51181    Open
         Verisae, Inc.                                              17-51182    Open
         Eleven Western Builders Inc.                               17-51183    Open
         Vestcom New Century LLC                                    17-51184    Open
         Crest Beverage L.L.C.                                      17-51185    Open
         WIS International, LLC                                     17-51187    Open
         Trinity Computer Systems, LP                               17-51188    Open
         Willard Bishop LLC                                         17-51189    Open
         Apex Executive Search, LLC                                 17-51190    Open
         Hambleton Resources, Inc.                                  17-51191    Open
         Three Group Research LLC                                   17-51194    Open
         United States Bakery                                       17-51196    Open
         TNG GP                                                     17-51198    Open
         Coho Distributing LLC, Columbia Distributing Holding LLC   17-51199    Open
         The Odom Corporation                                       17-51205    Open
         Flowers Baking Co.                                         17-51207    Open
         Triple “B” Corporation d/b/a Charlie’s Produce             17-51208    Open
         The United States Postal Service a/k/a USPS                17-51211    Open
         California Department of Food and Agriculture d/b/a OC     17-51212    Open
         Fair & Event Center
         Gruma Corporation d/b/a Mission Food Corp.                 17-51213    Open
         Steel Technology, LLC                                      17-51216    Open
         Management Services Northwest, Inc.                        17-51217    Open
         Tri-State General Contractors Inc.                         17-51218    Open
         Woodman Construction, Inc.                                 17-51220    Open
         Pepperidge Farm, Incorporated                              17-51222    Open
         Pinnacle Foods, Inc.                                       17-51224    Open




01:22761646.2
                Case 17-51105-KG   Doc 12-1   Filed 01/19/18   Page 5 of 17




                                   EXHIBIT B




01:22750833.4
                Case 17-51105-KG            Doc 12-1        Filed 01/19/18        Page 6 of 17



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                                 Chapter 11
HH LIQUIDATION, LLC, et            al.,1
                                                                 Case No. 15-11874 (KG)
                                   Debtors.                      (Jointly Administered)


OFFICIAL COMMITTEE OF UNSECURED
CREDITORS, on behalf of the estates of HH
LIQUIDATION, LLC, et al.,

                                   Plaintiff,

                 v.

AAA Flag & Banner Mfg. Co., Inc.,                                 Adv. Proc. No. 17-51044 (KG)
A. M. Wighton and Sons d/b/a A & J Refrigeration,                 Adv. Proc. No. 17-51045 (KG)
Accutherm Refrigeration, Inc.,                                    Adv. Proc. No. 17-51054 (KG)
Alpenrose Dairy, Inc.,                                            Adv. Proc. No. 17-51056 (KG)
Anderson Dairy, Inc.,                                             Adv. Proc. No. 17-51057 (KG)
Haralambos Beverage Co.,                                          Adv. Proc. No. 17-51059 (KG)
Centurylink, Inc.,                                                Adv. Proc. No. 17-51060 (KG)
JSI Store Fixtures Incorporated,                                  Adv. Proc. No. 17-51063 (KG)
Coyle Reproductions, Inc.,                                        Adv. Proc. No. 17-51065 (KG)
Cyma Orchids Corporation,                                         Adv. Proc. No. 17-51067 (KG)
Gourmet Merchants International, Inc.,                            Adv. Proc. No. 17-51075 (KG)
Granite Telecommunications LLC,                                   Adv. Proc. No. 17-51077 (KG)
E. & J. Gallo Winery d/b/a Gallo Wine Company;                    Adv. Proc. No. 17-51078 (KG)
Gallo Sales Company, Inc.,
Federal Heath Sign Company, LLC,                                  Adv. Proc. No. 17-51080 (KG)
First Data Merchant Services LLC,                                 Adv. Proc. No. 17-51081 (KG)
Hickman’s Egg Ranch, Inc. d/b/a Hickman’s Family                  Adv. Proc. No. 17-51082 (KG)
Farms,
Gauge Consulting, Inc. d/b/a Pada Sushi,                          Adv. Proc. No. 17-51083 (KG)
Julian Pie Company, LLC,                                          Adv. Proc. No. 17-51084 (KG)
Pacific Beverage Co.,                                             Adv. Proc. No. 17-51089 (KG)
Ivar’s Cabinet Shop, Inc. d/b/a Ivar’s Displays,                  Adv. Proc. No. 17-51091 (KG)
Solis Lighting and Electrical Services, Inc.,                     Adv. Proc. No. 17-51092 (KG)

1
  The Debtors, together with the last four digits of each Debtor’s tax identification number, are: HH Liquidation,
LLC (f/k/a Haggen Holdings, LLC) (7558), HH Operations, LLC (f/k/a Haggen Operations Holdings, LLC) (6341),
HH Opco South, LLC (f/k/a Haggen Opco South, LLC) (7257), HH Opco North, LLC (f/k/a Haggen Opco North,
LLC) (5028), HH Acquisition, LLC (f/k/a Haggen Acquisition, LLC) (7687), and HH Legacy, Inc. (f/k/a Haggen,
Inc.) (4583). The mailing address for each of the Debtors is 2211 Rimland Drive, Bellingham, WA 98226.


01:22763716.1
                Case 17-51105-KG    Doc 12-1       Filed 01/19/18   Page 7 of 17



Kasco, LLC,                                            Adv. Proc. No. 17-51093 (KG)
Synchrogistics, LLC,                                   Adv. Proc. No. 17-51096 (KG)
King Retail Solutions, Inc.,                           Adv. Proc. No. 17-51097 (KG)
Rief Enterprises, Inc. d/b/a South Bay Abrams,         Adv. Proc. No. 17-51098 (KG)
Laurel Graphics and Fabrication Company,               Adv. Proc. No. 17-51102 (KG)
Township Building Services, Inc.,                      Adv. Proc. No. 17-51105 (KG)
Design Fabrications, Inc.,                             Adv. Proc. No. 17-51107 (KG)
Loomis Armored US, LLC,                                Adv. Proc. No. 17-51109 (KG)
Harbor Distributing Co.,                               Adv. Proc. No. 17-51110 (KG)
Market Refrigeration Specialists, Inc.,                Adv. Proc. No. 17-51111 (KG)
Mayflower Distributing Company, Inc.,                  Adv. Proc. No. 17-51112 (KG)
Better Planet Brands LLC,                              Adv. Proc. No. 17-51118 (KG)
Bunzl Distribution USA, LLC,                           Adv. Proc. No. 17-51119 (KG)
Crown Pacific Fine Foods, Inc.,                        Adv. Proc. No. 17-51120 (KG)
Darigold, Inc.,                                        Adv. Proc. No. 17-51121 (KG)
Decopac, Inc.,                                         Adv. Proc. No. 17-51124 (KG)
Rose Gonzales Plants, Inc.,                            Adv. Proc. No. 17-51127 (KG)
Reddy Ice Corporation,                                 Adv. Proc. No. 17-51128 (KG)
Lwin Family Co., LLC d/b/a Hissho Sushi,               Adv. Proc. No. 17-51129 (KG)
Steve Julius Construction, Inc.,                       Adv. Proc. No. 17-51131 (KG)
Panda Express, Inc.,                                   Adv. Proc. No. 17-51132 (KG)
National Health Information, Inc.,                     Adv. Proc. No. 17-51134 (KG)
Red Bull Distribution Company, Inc.,                   Adv. Proc. No. 17-51135 (KG)
Red Bird Farms Distribution Company,                   Adv. Proc. No. 17-51136 (KG)
S-L Distribution Company, LLC,                         Adv. Proc. No. 17-51138 (KG)
ITW Food Equipment Group LLC d/b/a Hobart              Adv. Proc. No. 17-51139 (KG)
Service,
Nevada Beverage Co.,                                   Adv. Proc. No. 17-51146 (KG)
Superior Electrical, Mechanical & Plumbing Inc.,       Adv. Proc. No. 17-51148 (KG)
Tony’s Coffees & Teas, Inc.,                           Adv. Proc. No. 17-51149 (KG)
Icontrol Systems USA, LLC,                             Adv. Proc. No. 17-51150 (KG)
Inderbitzin Distributors, Inc.,                        Adv. Proc. No. 17-51151 (KG)
Florists’ Transworld Delivery, Inc.,                   Adv. Proc. No. 17-51153 (KG)
DPI Specialty Foods, Inc.,                             Adv. Proc. No. 17-51154 (KG)
National Food Corporation,                             Adv. Proc. No. 17-51157 (KG)
Medosweet Farms, Inc.,                                 Adv. Proc. No. 17-51159 (KG)
Key Mechanical Co. of Washington,                      Adv. Proc. No. 17-51161 (KG)
Marketouch Media, Inc.,                                Adv. Proc. No. 17-51162 (KG)
PDX, Inc.,                                             Adv. Proc. No. 17-51164 (KG)
Real Soda In Real Bottles, Ltd.,                       Adv. Proc. No. 17-51165 (KG)
RX.Com Consulting, Inc.,                               Adv. Proc. No. 17-51166 (KG)
Total Cleaning Solutions, Inc.,                        Adv. Proc. No. 17-51168 (KG)
Ocean Beauty Seafoods LLC,                             Adv. Proc. No. 17-51169 (KG)
Peet’s Coffee & Tea, LLC,                              Adv. Proc. No. 17-51172 (KG)
Schwan’s Consumer Brands, Inc.,                        Adv. Proc. No. 17-51176 (KG)
Select-A-Vision, Inc.,                                 Adv. Proc. No. 17-51177 (KG)


                                              2
01:22763716.1
                Case 17-51105-KG      Doc 12-1      Filed 01/19/18    Page 8 of 17



Signature Graphics, Inc.,                                Adv. Proc. No. 17-51178 (KG)
The Peggs Company, Inc.,                                 Adv. Proc. No. 17-51179 (KG)
YRC Inc.,                                                Adv. Proc. No. 17-51181 (KG)
Eleven Western Builders Inc.,                            Adv. Proc. No. 17-51183 (KG)
Vestcom New Century LLC d/b/a Vestcom Retail             Adv. Proc. No. 17-51184 (KG)
Solutions,
Crest Beverage L.L.C.,                                   Adv. Proc. No. 17-51185 (KG)
Trinity Computer Systems, LP,                            Adv. Proc. No. 17-51188 (KG)
Willard Bishop LLC,                                      Adv. Proc. No. 17-51189 (KG)
Apex Executive Search, LLC,                              Adv. Proc. No. 17-51190 (KG)
Hambleton Resources, Inc.,                               Adv. Proc. No. 17-51191 (KG)
Three Group Research LLC,                                Adv. Proc. No. 17-51194 (KG)
United States Bakery d/b/a Franz Family                  Adv. Proc. No. 17-51196 (KG)
Bakeries/Franz West,
TNG GP f/k/a The News Group L.P.,                        Adv. Proc. No. 17-51198 (KG)
COHO Distributing LLC; Columbia Distributing             Adv. Proc. No. 17-51199 (KG)
Holdings LLC,
The Odom Corporation,                                    Adv. Proc. No. 17-51205 (KG)
Flowers Baking Co. of California, LLC,                   Adv. Proc. No. 17-51207 (KG)
Triple “B” Corporation d/b/a Charlie’s Produce,          Adv. Proc. No. 17-51208 (KG)
The United States Postal Service a/k/a USPS,             Adv. Proc. No. 17-51211 (KG)
Gruma Corporation d/b/a Mission Food Corp.,              Adv. Proc. No. 17-51213 (KG)
Steel Technology, LLC d/b/a Hydro Flask,                 Adv. Proc. No. 17-51216 (KG)
Management Services Northwest, Inc.,                     Adv. Proc. No. 17-51217 (KG)
Tri-State General Contractors Inc,                       Adv. Proc. No. 17-51218 (KG)
Woodman Construction, Inc.,                              Adv. Proc. No. 17-51220 (KG)
Pepperidge Farm, Incorporated,                           Adv. Proc. No. 17-51222 (KG)
Pinnacle Foods, Inc. d/b/a Tim’s Cascade Snacks,         Adv. Proc. No. 17-51224 (KG)

                              Defendants.


                                    SCHEDULING ORDER

                To promote the efficient and expeditious disposition of adversary proceedings, the

following schedule shall apply to each of the above-captioned adversary proceedings.

                IT IS HEREBY ORDERED that:

                1.     Any extension of time to file a responsive pleading to the complaint is not

effective unless approved in accordance with the Local Rules of Bankruptcy Practice and




                                                3
01:22763716.1
                Case 17-51105-KG       Doc 12-1       Filed 01/19/18     Page 9 of 17




Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”) or by Order of the Court.

                2.     For cases with an amount at issue less than $75,000, the defendant may

unilaterally elect to toll discovery, in accordance with Local Rule 9019-5(j), until after the filing

of a mediator’s Certificate of Completion (the “Mediator’s Certificate”) pursuant to Local Rule

9019-5(f)(ii) by filing a stipulation in substantially the form attached hereto as Exhibit A within

twenty (20) days after the date this Scheduling Order is entered. For cases with an amount at

issue in excess of $75,000, the parties may mutually agree to toll discovery until after the filing

of a Mediator’s Certificate by filing a stipulation in substantially the form attached hereto as

Exhibit A within twenty (20) days after the date this Scheduling Order is entered, in which case

the following subparagraphs (a) through (e) shall apply:

                       a.      The discovery planning conference described in Fed.R.Civ.P.

26(f), made applicable by Fed.R.Bankr.P. 7026, shall be deemed to have taken place, provided,

however, that the parties each reserve their rights regarding issues concerning electronic

discovery.

                       b.      No later than ninety (90) days after this Scheduling Order is

entered, the parties shall file a Stipulation Regarding Appointment of a Mediator or a statement

that the parties cannot agree on a mediator and a request that the Court select and appoint a

mediator to the proceeding.

                       c.      The parties shall provide the initial disclosures under

Fed.R.Civ.P. 26(a)(1) no later than thirty (30) days after the filing of the Mediator’s Certificate.



                                                  4
01:22763716.1
                Case 17-51105-KG      Doc 12-1       Filed 01/19/18    Page 10 of 17




Any extension of the deadline to provide initial disclosures must be by Order of the Court and

will only be granted for cause shown.

                       d.      All formal discovery between the parties shall be tolled until after

the filing of the Mediator’s Certificate. All fact discovery shall be completed no later than one

hundred twenty (120) days after the filing of the Mediator’s Certificate. Unless the parties

otherwise agree, the discovery of Electronically Stored Information shall be made in accordance

with Electronic Discovery Default Standard of the United States District Court for the District of

Delaware.

                       e.      Any expert report required pursuant to Federal Rule of Civil

Procedure 26(a)(2)(B) shall be served by the party which bears the burden of proof for that issue,

not including any report by Plaintiff on insolvency of the Debtors, no later than one hundred

sixty-five (165) days after the filing of the Mediator’s Certificate. If the Defendant intends to

provide expert testimony regarding the insolvency of the Debtors, notice of the Defendant’s

intent to submit any such expert report must be provided no later than one hundred fifty (150)

days after the filing of the Mediator’s Certificate, and any such expert report must be provided

no later than one hundred eighty (180) days after the filing of the Mediator’s Certificate. Any

expert rebuttal report by Plaintiff on the insolvency of the Debtors, shall be provided no later

than two hundred ten (210) days after the filing of the Mediator’s Certificate. Any Party’s expert

report intended to rebut any other expert report, including any other expert reports that may be

filed earlier than the deadlines established in this subparagraph, shall be provided no later than

thirty (30) days after the report being rebutted, provided, however, that in no event shall the



                                                 5
01:22763716.1
                Case 17-51105-KG       Doc 12-1        Filed 01/19/18   Page 11 of 17




thirty (30) day period start prior to one hundred twenty (120) days after the filing of the

Mediator’s Certificate. All reports shall provide the information required by Fed.R.Civ.P.

26(a)(2)(B). All expert discovery shall be completed no later than two hundred seventy (270)

days after the filing of the Mediator’s Certificate.

                 3.    If the parties do not agree to toll discovery until after the conclusion of

mediation in accordance with paragraph 2 of this Order, the following subparagraphs (a) through

(d) shall apply:

                       a.      The discovery planning conference described in Fed.R.Civ.P.

26(f), made applicable by Fed.R.Bankr.P. 7026, shall be deemed to have taken place, provided,

however, that the parties each reserve their rights regarding issues concerning electronic

discovery.

                       b.      The parties shall provide the initial disclosures under Fed.R.Civ.P.

26(a)(1) no later than thirty (30) days after the date this Scheduling Order is entered. Any

extension of the deadline to provide initial disclosures must be by Order of the Court and will

only be granted for cause shown.

                       c.      All fact discovery shall be completed no later than one hundred

twenty (120) days after the date this Scheduling Order is entered. Unless the parties otherwise

agree, the discovery of Electronically Stored Information shall be made in accordance with

Electronic Discovery Default Standard of the United States District Court for the District of

Delaware.




                                                  6
01:22763716.1
                Case 17-51105-KG      Doc 12-1       Filed 01/19/18    Page 12 of 17




                       d.      Any expert report required pursuant to Federal Rule of Civil

Procedure 26(a)(2)(B) shall be served by the Party which bears the burden of proof for that issue,

not including any report by Plaintiff on insolvency of the Debtor, no later than one hundred

sixty-five (165) days after the date this Scheduling Order is entered. If the Defendant intends to

provide expert testimony regarding the insolvency of the Debtors, notice of the Defendant’s

intent to submit any such expert report must be provided no later than one hundred fifty (150)

days after the date this Scheduling Order is entered, and any such expert report must be provided

no later than one hundred eighty (180) days after the date this Scheduling Order is entered. Any

expert rebuttal report by Plaintiff on the insolvency of the Debtors shall be provided no later than

two hundred ten (210) days after the date this Scheduling Order is entered. Any Party’s expert

report intended to rebut any other expert report, including any other expert reports that may be

filed earlier than the deadlines established in this subparagraph, shall be provided no later than

thirty (30) days after the report being rebutted, provided, however, that in no event shall the

thirty (30) day period start prior to one hundred twenty (120) days after the date this Scheduling

Order is entered. All reports shall provide the information required by Fed.R.Civ.P. 26(a)(2)(B).

All expert discovery shall be completed, and discovery shall close, no later than two hundred

seventy (270) days after the date this Scheduling Order is entered.

                 4.    Pursuant to the General Order Regarding Procedures in Adversary

Proceedings entered by the Honorable Mary F. Walrath on April 7, 2004, and except as

otherwise provided pursuant to Paragraph 2.b. of this Scheduling Order, no later than one

hundred twenty (120) days, after this Scheduling Order is entered, the parties shall file a



                                                 7
01:22763716.1
                Case 17-51105-KG        Doc 12-1       Filed 01/19/18    Page 13 of 17




Stipulation Regarding Appointment of a Mediator or a statement that the parties cannot agree on

a mediator and a request that the Court select and appoint a mediator to the proceeding.

                 5.     Within sixty (60) days after the entry of an Order Assigning the Adversary

Proceeding to Mediation, the mediator shall either (a) file the Mediator’s Certificate, or, (b) if the

mediation is not concluded, file a status report that provides the projected schedule for

completion of the mediation. All mediations shall be conducted in the State of Delaware unless

otherwise agreed by the parties in a particular adversary proceeding.

                 6.     All motions pursuant to Rule 5011-1 of the Local Rules, including a

motion for withdrawal of the reference or motion for a determination of whether the Court has

authority to enter final orders and judgments, shall be filed and served not sooner than thirty (30)

days after the close of all discovery and not later than 60 days prior to trial, and shall be subject

to the Local Rules.

                 7.     All dispositive motions shall be filed and served by not later than sixty

(60) days after the close of all discovery and shall be subject to Rule 7007-1 of the Local Rules.

                 8.     The parties shall comply with the General Order Governing Pre-Trial

Procedures in Adversary Proceedings Set for Trial Before Judge Kevin Gross. The parties shall

file, no later than two (2) business days prior to the earlier of date set for (I) pre-trial conference

(if one is scheduled) or (ii) trial, their Final Pretrial Order approved by all counsel and shall

contemporaneously deliver two (2) copies thereof to Judge Gross’ chambers.




                                                   8
01:22763716.1
                Case 17-51105-KG       Doc 12-1        Filed 01/19/18    Page 14 of 17




                 9.     As soon as is feasible after the close of all discovery, the Plaintiff shall

contact the Court to schedule a final pretrial conference in accordance with Local Rule 7016-

2(a).

                 10.    The Plaintiff shall immediately notify Chambers upon the settlement,

dismissal or other resolution of any adversary proceeding subject to this Order and shall file with

the Court appropriate evidence of such resolution as soon thereafter as is feasible. The Plaintiff

shall file a status report forty-five (45) days after the date of this Scheduling Order, each forty-

five (45) days thereafter, and thirty (30), twenty (20), and ten (10) days prior to trial, setting out

the status of each unresolved adversary proceeding subject to this Order. Plaintiff shall

immediately advise Chambers, in writing, of any occurrence or circumstance which Plaintiff

believes may suggest or necessitate the adjournment or other modification of the trial setting.

                 11.    Unless otherwise stated herein, all deadlines contained herein may be

amended by agreement of the parties, provided that no extension shall be effective without court

approval if it permits a pleading to be filed less than one week before a hearing concerning such

pleading.

                 12.    The Plaintiff shall serve this Scheduling Order on each Defendant within

five (5) business days after the entry of this Order.


Dated:                                  , 2018
         Wilmington, DE                                 The Honorable Kevin Gross
                                                        United States Bankruptcy Judge




                                                   9
01:22763716.1
                Case 17-51105-KG    Doc 12-1   Filed 01/19/18   Page 15 of 17



                                   EXHIBIT A TO ORDER




01:22763716.1
                 Case 17-51105-KG           Doc 12-1       Filed 01/19/18        Page 16 of 17



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                                 Chapter 11
HH LIQUIDATION, LLC, et            al.,1
                                                                 Case No. 15-11874 (KG)
                                   Debtors.                      (Jointly Administered)



OFFICIAL COMMITTEE OF UNSECURED
CREDITORS, on behalf of the estates of HH
LIQUIDATION, LLC, et al.,

                                   Plaintiff,

                  v.                                                Adv. Proc. No. 17-______ (KG)

[DEFENDANT].



                               STIPULATION TO TOLL
                DISCOVERY UNTIL AFTER THE CONCLUSION OF MEDIATION

         Plaintiff, the Official Committee of Unsecured Creditors on behalf of the bankruptcy

estates of HH Liquidation, LLC and its affiliated debtors (the “Plaintiff”), and the above-

captioned defendant (the “Defendant” and together with the Plaintiff, the “Parties”), hereby agree

and stipulate that, in according with the scheduling order dated January ___, 2018, discovery

shall be tolled until after the filing of a mediator’s Certificate of Completion pursuant to Local

Rule 9019-5(f)(ii).




1
  The Debtors, together with the last four digits of each Debtor’s tax identification number, are: HH Liquidation,
LLC (f/k/a Haggen Holdings, LLC) (7558), HH Operations, LLC (f/k/a Haggen Operations Holdings, LLC) (6341),
HH Opco South, LLC (f/k/a Haggen Opco South, LLC) (7257), HH Opco North, LLC (f/k/a Haggen Opco North,
LLC) (5028), HH Acquisition, LLC (f/k/a Haggen Acquisition, LLC) (7687), and HH Legacy, Inc. (f/k/a Haggen,
Inc.) (4583). The mailing address for each of the Debtors is 2211 Rimland Drive, Bellingham, WA 98226.


01:22763716.1
                Case 17-51105-KG   Doc 12-1       Filed 01/19/18   Page 17 of 17




Dated: _______________, 2018

PACHULSKI STANG ZIEHL & JONES LLP                  [FIRM]


Bradford J. Sandler (DE Bar No. 4142)              [Attorney]
Andrew W. Caine (CA Bar No. 110345)                [Address]
Peter J. Keane (DE Bar No. 5503)                   [City, State, Zip]
919 North Market Street, 17th Floor                Tel: ___________
P.O. Box 8705                                      Fax: __________
Wilmington, DE 19899-8705 (Courier 19801)          Email: ___________
Telephone: (302) 652-4100
Facsimile: (302) 652-4400                          Counsel for Defendant
Email: bsandler@pszjlaw.com
        acaine@pszjlaw.com
        pkeane@pszjlaw.com

Counsel for Plaintiff




                                              2
01:22763716.1
